    Case 18-09108-RLM-11                 Doc 55        Filed 12/10/18         EOD 12/10/18 15:12:02                Pg 1 of 3


                                      UNITED STATES BANKRUPTCY COURT
                                       FOR THE DISTRICT OF Southern Indiana

                                                   Minute Entry/Order
Hearing Information:
                       Debtor:   USA GYMNASTICS
                 Case Number:    18-09108-RLM-11                   Chapter: 11

          Date / Time / Room:    MONDAY, DECEMBER 10, 2018 01:30 PM IP 329

         Bankruptcy Judge:       ROBYN L. MOBERLY
              Courtroom Clerk:   KRISTIN GOSS
               Reporter / ECR:   NIKKO RATLIFF                                                                                 0.00


Matters:
       1) Hearing Re: First Day Motion to Pay Pre-Petition Employee Wage Claims filed by Melissa M. Root on behalf of Debtor
          USA Gymnastics [11]
          R / M #: 0 / 0

       2) Hearing Re: First Day Motion for Approval of Cash Management System (Bank Accounts/Business Forms) filed by
          Melissa M. Root on behalf of Debtor USA Gymnastics with Objections filed by Creditor, Sexual Abuse Survivors and
          UST [12] [49] [53]
          R / M #: 0 / 0

       3) Hearing Re: First Day Motion for Continuation of Utility Service and Approval of Adequate Assurance of Payment to
          Utility Company Under 11 U.S.C. Sec. 366(b) filed by Melissa M. Root on behalf of Debtor USA Gymnastics [13]
          R / M #: 0 / 0

       4) Hearing Re: First Day Motion for An Order (I) Authorizing the Debtor to Continue, Renew, and Supplement Insurance
          Policies; (II)Authorizing Payment of Obligations Incurred in the Ordinary Course of Operations in Connection with
          Insurance Programs, including Payment of Policy Premiums, Broker Fees, and Premium Financing Obligations; and (III)
          Authorizing Banks to Honor and Process Check and Electronic Transfer Requests Related Thereto Pursuant to Sections
          105(A) and 363(B) of The Bankruptcy Code filed by Melissa M. Root on behalf of Debtor USA Gymnastics [14]
          R / M #: 0 / 0

       5) Hearing Re: First Day Motion to Pay Pre-Petition Trust Fund Taxes filed by Melissa M. Root on behalf of Debtor USA
          Gymnastics [15]
          R / M #: 0 / 0

       6) Expedited Hearing Re: Motion for An Order (I) Authorizing The Debtor to File A Redacted Creditor Matrix and
          Redacted Amended Creditor Matrices and (II) Deeming The Procedures to Satisfy Local Rules B-1007 and B-1009 filed
          by Melissa M. Root on behalf of Debtor USA Gymnastics with an Objection filed by Creditor, Sexual Abuse Survivors
          [9] [50]
          R / M #: 0 / 0

       7) Expedited Hearing Re: Motion to Extend Time to File Schedules and Statement of Affairs filed by Melissa M. Root on
          behalf of Debtor USA Gymnastics [16]
          R / M #: 0 / 0

       8) Expedited Hearing Re: Application to Employ Omni Management Group, Inc. as Claims and Noticing Agent and Set
          Procedure for Draw on Retainer (Verified Statement attached), filed by Melissa M. Root on behalf of Debtor USA
          Gymnastics [18]
          R / M #: 0 / 0

       9) Expedited Hearing Re: Motion to Enter into Agreement with Alfers GC Consulting, LLC filed by Melissa M. Root on
          behalf of Debtor USA Gymnastics with an Objection filed by Creditor, Sexual Abuse Survivors [20] [51]
          R / M #: 0 / 0



Page 1 of 3                                                                                                        12/10/2018     3:11:10PM
      Case 18-09108-RLM-11                Doc 55       Filed 12/10/18         EOD 12/10/18 15:12:02               Pg 2 of 3


                                       UNITED STATES BANKRUPTCY COURT
                                        FOR THE DISTRICT OF Southern Indiana

                                                    Minute Entry/Order
(continue)...   18-09108-RLM-11             MONDAY, DECEMBER 10, 2018 01:30 PM

        10) Expedited Hearing Re: Motion to Enter into Agreement with Scramble Systems LLC filed by Melissa M. Root on behalf
            of Debtor USA Gymnastics with an Objection filed by Creditor, Sexual Abuse Survivors [22] [52]
            R / M #: 0 / 0

        11) Continued Hearing Re: Debtors Emergency Motion For Order (I) Approving Commercial Card Agreement With PNC
            Bank; filed by Melissa M. Root on behalf of Debtor USA Gymnastics [30]
            R / M #: 0 / 0



Appearances:

          In Court Appearances:
          CATHERINE L. STEEGE, ATTORNEY FOR USA GYMNASTICS
          MELISSA M. ROOT, ATTORNEY FOR USA GYMNASTICS
          SCOTT SHOLLENBARGER - CFO OF DEBTOR
          LAURA A DUVALL/NANCY GARGULA, ATTORNEY FOR U.S. TRUSTEE
          JEFF HOKANSON - ATTORNEY FOR NATIONAL GYMNASTICS FOUNDATION
          MEEGAN BONNANI - ATTORNEY FOR SEXUAL ABUSE SURVIVORS
          DEBORAH CARUSO/MEREDITH THESIEN - ATTORNEYS FOR SEXUAL ABUSE SURVIVORS

          Phone Appearances:
          JAMES STANG - ATTORNEY FOR SEXUAL ABUSE SURVIVORS




Page 2 of 3                                                                                                       12/10/2018    3:11:10PM
      Case 18-09108-RLM-11                           Doc 55            Filed 12/10/18               EOD 12/10/18 15:12:02                           Pg 3 of 3


                                                 UNITED STATES BANKRUPTCY COURT
                                                   FOR THE DISTRICT OF Southern Indiana

                                                                  Minute Entry/Order
(continue)...    18-09108-RLM-11                        MONDAY, DECEMBER 10, 2018 01:30 PM


Proceedings:                                                                                                                                             1.00


          (1) Disposition: Hearing held. Motion GRANTED on an interim basis. Counsel to submit order.
          Final hearing set for 1/16/19 at 1:30 p.m. (Eastern) in Room 329, Indianapolis. Notice given in open court.
          (2) Disposition: Hearing held. Motion GRANTED on an interim basis. DIP stamp required on all accounts. Counsel to submit
          order.
          Final Hearing set for 1/16/19 at 1:30 p.m. (Eastern) in Room 329, Indianapolis.     Notice given in open court.
          (3) Disposition: Hearing held. Motion GRANTED on an interim basis. Counsel to submit order.
          Final Hearing set for 1/16/19 at 1:30 p.m. (Eastern) in Room 329, Indianapolis. Notice given in open court.
          (4) Disposition: Hearing held. Motion GRANTED on an interim basis. Counsel to submit order.
          Final Hearing set for 1/16/19 at 1:30 p.m. (Eastern) in Room 329, Indianapolis. Notice given in open court.
          (5) Disposition: Hearing held. Motion GRANTED on an interim basis. Counsel to submit order.
          Final Hearing set for 1/16/19 at 1:30 p.m. (Eastern) in Room 329, Indianapolis. Notice given in open court.
          (6) Disposition: Hearing held. Motion GRANTED. Counsel to submit order.
          (7) Disposition: Hearing held. Motion GRANTED. Extension to 1/18/19. NOTE: 341 meeting set for 1/10/19.
          (8) Disposition: Hearing held. Application GRANTED. Counsel to submit order.
          (9) Disposition: Hearing held. Matter continued to Hearing on 12/20/18 at 10:00 a.m. (Eastern). If all matters resolved - counsel
          asks that matter be held telephonically. Court approved telephonic request.
          (10)   Disposition: Hearing held.         Matter continued to Hearing on 12/20/18 at 10:00 a.m. (Eastern). If all matters resolved - counsel
          asks that matter be held telephonically. Court approved telephonic request.

          (11) Disposition: Hearing held. Motion GRANTED on an interim basis. Counsel to submit order.
          Final Hearing set for 1/16/19 at 1:30 p.m.           (Eastern) in Room 329, Indianapolis. Notice given in open court.




IF COUNSEL HAS BEEN DIRECTED BY THE COURT TO SUBMIT AN ORDER BASED ON THE COURT'S RULING
OR THE PARTIES' AGREEMENT, THEN NO FURTHER NOTICE OR REMINDER WILL BE ISSUED. THE COURT
WILL NOT KEEP A CASE OPEN SOLELY BECAUSE THE ORDER WAS NOT SUBMITTED WITHIN THE TIME
PERIOD DIRECTED BY THE COURT. IN SUCH INSTANCE, A REOPENING FEE WILL APPLY.




Page 3 of 3                                                                                                                                        12/10/2018   3:11:10PM
